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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

__________________________________________
                                            :
VISION INDUSTRIES GROUP, INC.,              :
                                            :
                          Plaintiff,        :
                                            :
                     v,                     :   Case No. 2:18-cv-06296-JKS-CLW
                                            :
ACU PLASMOLD, INC.,                         :
and ABC COMPANIES 1-10,                     :
and XYZ CORPORATIONS 1-10,                  :
                                            :
                        Defendants.         :
__________________________________________




                  CERTIFICATION OF MICHAEL CUKOR
                  REGARDING VISION’S FEES AND COSTS
        PURSUANT TO THE AUGUST 21, 2024 SANTCTION ORDER [DE 266]
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I, Michael Cukor, Esq. do hereby declare and say:

    1.       I am an attorney with the law offices of McGeary Cukor LLC and am fully familiar
             with the facts of the within matter.

    2.       I submit this Certification pursuant to the Court’s August 21, 2024 Order [DE 266]
             which provides in pertinent part “that within thirty (30) days of this order, Vision
             shall submit to the Court a Certification setting forth the costs and fees it incurred in
             connection with (i) the discovery proceedings discussed in Section IV(a)(2) of the
             accompanying opinion and (ii) the instant motion and ECF No. 104 and 124, along
             with attendant billing records”.

    3.       To comply with the Court’s Order, I conducted a search of our firm’s invoices to
             Vision Industries Group Inc. (“Vision”) and asked Evelyn Donegan to do the same
             and then I calculated a sum of $197,268.50 as the total costs and fees to be awarded
             to Vision. A detailed explanation of my methodology follows.

    4.       Since 2019, Vision has been represented in this matter primarily by Michael Cukor
             from McGeary Cukor LLC and Evelyn Donegan from Rubin, Kaplan and Associates.

    5.       I calculated Vision’s fees and costs from McGeary Cukor by logging in to our
             accounting system and running a report from 1/1/2019 to August 31, 2024 for all time
             entries billed to the Vision v ACU matter. I exported that report as a MS Excel file
             that included the following fields: task_name, user_name, log_date, log_time, Time
             Sheet Description/Notes. I then added the following new columns to the spreadsheet:
             Invoice No., Rate, Sub Total, and Discount.

    6.       I reviewed DE 266 and identified each timesheet entry that I believe was covered by
             the Order.1 I deleted the entire row of all timesheet entries that I did not believe were
             covered by the Order. I then reviewed the entry dates for each remaining row in the
             spreadsheet and manually added the Invoice number for the invoice where each entry
             appeared. I then manually entered the rate for each timesheet entry in the
             spreadsheet.

    7.       I converted the ‘log_time’ field to a decimal number (from a clock format) and
             multiplied that with the ‘Rate’ for each row to get the ‘Sub Total’.

    8.       I confirmed that Vision received a 10% discount from McGeary Cukor on its invoices
             beginning in January 2024 and populated the ‘Discount’ field by multiplying the ‘Sub
             Total’ field by 10% for all entries after January 1, 2024.


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  In an effort to be extremely conservative regarding the inclusion of time entries, I did not include charges for items
such as the Quach deposition (which was only necessary as a result of ACU withholding information), and expense
related to ACU’s repeated changes in counsel or entries that were only partially related to sanctionable conduct.
However, Vision reserves the right to pursue all excluded costs and expenses should ACU challenge the
appropriateness of the included time entries.

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   9.      I manually added the one expense I found that was covered by the Order to the
           spreadsheet.

   10.     I created a SUM of the Sub Total column which is $178,382.50.

   11.     I created a SUM of the Discount column which is $4,758.00

   12.     I subtracted the Discount SUM from the Sub Total SUM which is the total amount
           due for the McGeary Cukor invoices under the Order: $173,624.50.

   13.     Emailed to the Court and opposing counsel (but not filed via ECF) is a PDF printout
           of the above spreadsheet as Exhibit 1.

   14.     Emailed to the Court and opposing counsel (but not filed via ECF) as Exhibit 2 are
           the relevant redacted invoices.

   15.     I have also reviewed the Certification of Evelyn Donegan and saw that she certified
           that Rubin, Kaplan and Associates fees and costs covered by the Order were:
           $23,644.00.

   16.     Accordingly, the total fees and costs due to Vision by the Order are: $197,268.50.



I hereby certify that the foregoing statements made by me are true. If the foregoing statements
made by me are willfully false, I am subject to punishment.

                                                    _/Michael Cukor/s
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                                                    Dated: September 18, 2024




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